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                              UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                      )
                                               )
                 Plaintiff,                    )
          v.                                   )       Case No. 19-20052-JAR-JPO
                                               )
FENG TAO                                       )
     a/k/a “Franklin Tao,”                     )
                                               )
                 Defendant.                    )


           DR. FRANKLIN TAO’S MOTION TO STRIKE THE GOVERNMENT’S
                  UNTIMELY MOTION FOR RULE 15 DEPOSITIONS

          The government’s Rule 15 motion to depose five witnesses is inexcusably late. Without

leave of Court, the government filed its motion 25 months after the indictment, 15 months after

the pre-trial motions deadline, six months after the Rule 15 deadline, five to ten weeks after it

knew about its witness’ health statuses, and three weeks after the Court instructed the government

to file any such motions. The government also filed its motion after the trial was originally set to

begin, on October 25, and just weeks before the new trial date of December 6. The government’s

motion is untimely in every possible way, and the government provides no explanation for its late

filing.

          Good cause does not justify the government’s untimely motion, and the government does

not even attempt to argue otherwise. The government seeks to depose witnesses in Germany and

Taiwan that it failed to even contact until 17–21 months after indictment, well past the pre-trial

motions deadline. And it seeks to depose three witnesses from DOE and KU whose health

circumstances the government has known about for five to ten weeks, and should have inquired

about earlier in the year to ensure that they were available for trial. Instead, the government waited

until weeks before the original October 25 trial date to seek a continuance, and then waited until


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weeks before the second trial date of December 6 to seek Rule 15 depositions—when the Court

instructed it three weeks earlier to immediately file any such motions.

       For the reasons stated below, the Court should strike the government’s motion because it

fails to even argue, let alone demonstrate, good cause for its untimeliness.1

                                         BACKGROUND

       Dr. Tao was indicted on August 21, 2019. Indictment, ECF No. 1. After roughly a year of

discovery and two superseding indictments, on June 29, 2020, the Court set a pre-trial motions

deadline for August 14, 2020. Scheduling Order, ECF No. 80. The government filed no pre-trial

motions. When the defense discovered key witnesses in China who were willing to be deposed,

but who refused to attend trial and could not be subpoenaed, the Court set a deadline of April 30,

2021 for the defense to file a Rule 15 motion, Scheduling Order, ECF Nos. 108, which was later

continued to May 14, 2021, Order, ECF No. 110. The government filed no Rule 15 motion, and it

never indicated that it might need to file Rule 15 depositions as to any of the five witnesses it now

seeks to depose.2

       On October 1, 2021, just over three weeks before the original October 25 trial date, the

government moved to continue the trial. Gov’t Motion to Continue Jury Trial, ECF No. 169. The

government stated that two Department of Energy (DOE) witnesses “expressed concerns about

traveling” due to health reasons, and a University of Kansas (KU) witness was scheduled for



1
 The government’s Rule 15 motion also fails on the merits, because it does not satisfy the Rule
15 standard, and its alternative request for live two-way video testimony during trial would violate
Dr. Tao’s Confrontation Clause rights under Maryland v. Craig, 497 U.S. 836 (1990); see, e.g.,
United States v. Pangelinan. Case No. 19-10077-JWB, 2020 WL 5118550 (D. Kan. Aug. 31,
2020). Indeed, the government’s reliance on Second Circuit case law to argue for live testimony—
an outlier circuit that split with the Tenth Circuit on the issue—betrays the weakness of its request.
2
  During the July 23, 2021 Rule 15 hearing, the government stated only that it was considering
filing a Rule 15 motion as to a rebuttal witness in China. Hear’g Tr., ECF No. 123, at 32–33.

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surgery that could prevent him from testifying at the October 25 trial. Id. at 2–3. Despite their

“concerns,” none of the witnesses stated that he or she refused to attend trial, and neither of the

DOE witnesses stated that his or her doctor advised that it would be unsafe for him or her to travel

for trial. The government argued that it “require[d] a brief continuance to locate alternative

witnesses, if any, or to conduct depositions.” Id. at 2. The Court stated during a status conference

on October 6, 2021 that it would continue the October 25 trial date given the government’s

representations.

       During the October 15, 2021 motions hearing, the government stated that they “were told

that there are no alternatives” to the two DOE witnesses, and the government did “not believe they

can be replaced,” so the government “will be seeking Rule 15 depositions of the two of them.”

Hear’g Tr. (10/15/2021) at 138. The government stated that it would check with the KU witness

to determine whether he would be available to testify once the Court sets a new trial date and, if

not, the government would move to depose him as well. Id.

       During the same hearing, the Court reiterated that it would continue the October 25 trial

date, but instructed the government to file any Rule 15 motions forthwith. See id. at 153–54

(“Here’s what I want … [T]he government needs to file a motion for Rule 15 deposition, and you

need to respond so we can be teed up so that I can fully understand whether these witnesses are

essential.”); id. at 163 (“But I think you should file a motion for Rule 15 depositions. If that’s what

you’re going to do, you need to do that and tee it up.”). The Court subsequently issued a notice

cancelling the October 25, 2021 trial, Notice of Cancelled Hearing, ECF No. 180, and it informed

the parties by email that it set the new trial date for December 6, 2021.

       On November 4, 2021, three weeks after the Court advised the government to promptly

file any Rule 15 motions, the government filed its Rule 15 motion, without leave of Court or a



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request for an extension of the pre-trial motions deadline, seeking to depose five witnesses. The

government included no good cause argument in its motion. The Court should strike the motion

as untimely and for lack of good cause shown.

                                          ARGUMENT

  I.   The Court should strike the Government’s Rule 15 motion as untimely and for lack
       of good cause.

       “If a party does not meet the deadline for making a [pre-trial] motion, the motion is

untimely,” and the Court may consider the motion only “if the party shows good cause.” Fed. R.

Crim. P. 12(c)(3). Good cause requires: (1) cause for the untimely filing, and (2) that the movant

would suffer prejudice if the Court does not consider the motion. United States v. Bowline, 917

F.3d 1227, 1234, 1238 (10th Cir. 2019). The government satisfies neither requirement as to any of

the five prospective deponents, and it does not argue to the contrary.

       A.      The government fails to argue or demonstrate cause.

       The government’s motion fails to assert that there is cause for its untimeliness, let alone

demonstrate such cause through evidence or representations. Nor can it. The motion is inexcusably

late with respect to all five prospective witnesses. Each is addressed in turn below.

               1.      The Foreign Witnesses

       The government’s delay in moving to depose the witnesses in Germany and Taiwan is due

to its own untimely attempt to interview the witnesses. The government admits that it waited until

January 2021, five months after the pre-trial motions deadline passed, to try to interview Dr.

Schlogl in Germany. Gov’t Rule 15 Motion, ECF No. 186, at 1. It admits that it waited until May

2021, nine months after the pre-trial motions deadline, to try to interview Dr. Chen in Taiwan. Id.

If the government thought these witnesses were important, it should have interviewed them before




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indicting Dr. Tao in August 2019.3 Instead, it waited until 17 months after indictment to try to

interview Dr. Schlogl, and 21 months after indictment to try to interview Dr. Chen, without ever

notifying the Court or the defense that it may seek to depose the witnesses. It then filed its surprise

motion for continuance weeks before the original October 25 trial date. The government’s claim

that “the timing of the government’s motion is not due to the government’s lack of effort to secure

the witnesses’ testimony,” Gov’t Rule 15 Motion, ECF No. 186, at 2 n.2, is belied by these

uncontested facts.

               2.      The DOE Witnesses

       The government’s delay in moving to depose the two DOE witnesses is also inexcusable.

One DOE witness asserted in late September 2021 that he would rather not travel for trial due to

COVID-19 because he is 70.4 The other DOE witness asserted in late September 2021 that she

would rather not travel for trial because she has had a health condition since May 2021 or earlier.

If the government had timely communicated with these witnesses about their availability for trial—

witnesses who the government has claimed are “essential” to its case—it would have learned of

their health conditions six months ago and could have moved for Rule 15 motions in May 2021,

when Dr. Tao filed his Rule 15 motion. The government’s failure to communicate with its

witnesses about their availability until weeks before trial is inexcusable, and it is not cause for

delay. In addition, even after the government belatedly learned about the witnesses’ health



3
  Indeed, the government claims that Count 7 of the Superseding Indictment, returned June 24,
2020, is based on an email exchange with Dr. Chen. Gov’t Rule 15 Motion, ECF No. 186, at 7.
Thus, the government was on notice in June 2020 at the latest that it might need Dr. Chen to testify
at trial or to depose him. But rather than file a timely Rule 15 Motion, it waited 11 months, until
May 2021, to even try to contact him.
4
  The defense limits its discussion of the witnesses’ health conditions herein to the facts stated by
the government in its publicly filed Motion for Continuance and Motion for Rule 15 Depositions,
and it assumes the Court’s familiarity with the sealed exhibits thereto.

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concerns, it waited five weeks to file its Rule 15 motion, which was three weeks after the Court

instructed the government to immediately file any such motions. This delay was also inexcusable.

               3.      The KU Witness

       The government learned on August 26, 2021 that the KU witness had surgery scheduled

for early October 2021. Gov’t Motion to Continue Jury Trial, ECF No. 169, at 2.5 The government

failed to file a Rule 15 motion at that time or notify the Court or defense. Instead, it waited more

than a month, until weeks before the original October 25 trial date, to move to continue the trial

date. After that, it waited an additional five weeks to file its Rule 15 motion, despite the Court’s

instruction on October 15 that it file any such motion immediately. In all, the government waited

10 weeks after finding out about the KU witness’s surgery before filing a Rule 15 motion. The

government has no excuse for this delay.

       B.      The government fails to argue or demonstrate that it would be prejudiced if
               the Court struck the motion.

       Even if the government could demonstrate cause for its untimeliness—and it cannot—the

Court should still strike the government’s Rule 15 motion as untimely because the government

fails to demonstrate that it would suffer prejudice if the Court were to strike the motion.

       The government’s asserted purpose for the testimony of the German witness, Dr. Schlogl,

is solely to prove the allegation that, “[c]ontrary to Dr. Tao’s claims to Dr. Weatherley,” Dr. Tao’s

supervisor at KU, Dr. Tao “never visited [the Fritz Haber Institute]” in Germany in spring 2019.

Gov’t Rule 15 Motion, ECF No. 186, at 6. Aside from the tenuous relevance of this testimony to

whether Dr. Tao defrauded KU, DOE, and NSF or made false statements to DOE and NSF, the


5
 A common thread with the DOE and KU witnesses is that the government never communicated
with the witnesses about their trial availability, and the witnesses apparently had to affirmatively
contact the government to volunteer this information. The government’s failure to determine the
availability of its witnesses for a trial originally set for October 25, 2021, and which had been
scheduled since March 2021 is negligent, and it does not justify delay.

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government admits that it does not need Dr. Schlogl to prove that Dr. Tao never visited Germany

in spring 2019, because Dr. Tao’s passport does not show such a visit. Id. at 6 n.5. The government

thus concedes that it has other ways to prove that Dr. Tao did not visit Germany in spring 2019

without Dr. Schlogl’s testimony, belying the argument that the testimony is necessary.

       Dr. Schlogl also has not stated that he is unwilling to travel to the United States to testify

at trial such that he could be unavailable under Rule 15, or that he is willing to be deposed. See

Gov’t Rule 15 Motion, ECF No. 186, at 14 (stating only that it is “unclear” to the government

“whether [Dr. Schlogl] will agree to travel to the United States” for trial, and that the government

is still “in the process of confirming” whether he would be willing to be deposed). The government

is essentially asking the Court to rule on a hypothetical situation—if Dr. Schlogl later indicates he

is unwilling to travel to Kansas for a trial, and if Dr. Schlogl agrees to be deposed, is a Rule 15

deposition proper? The Court should not provide an advisory opinion based on a factual predicate

that may not occur, and Dr. Tao should not be forced to expend his resources and his counsel’s

time on litigating motions premised on what might happen in the future. The government therefore

fails to satisfy its burden of demonstrating that it would suffer prejudice if the Court strikes the

motion to depose Dr. Schlogl.

       The government’s asserted purpose for the testimony of the witness in Taiwan, Dr. Chen,

is to prove the allegation that Dr. Tao applied for funding from the Chinese government through

Fuzhou University. Gov’t Rule 15 Motion, ECF No. 186, at 14–15. Again, the government admits

that it does not need Dr. Chen to prove this allegation, because it claims it has an email from Dr.

Tao to Dr. Chen, cited in Count 7 of the indictment, id., and that it has an alleged funding

application submitted by Dr. Tao to a Chinese granting authority, see id. Ex. B, at 2–3, which

already purportedly demonstrates this.



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       In addition, Dr. Chen—like Dr. Schlogl—has also not stated that he is unwilling to travel

to the United States to testify at trial such that he could be unavailable under Rule 15, or that he is

willing to be deposed. See Gov’t Rule 15 Motion, ECF No. 186, at 15 (stating only that Dr. Chen

“was unsure” whether he would agree to travel to the United States for trial, and that the

government is still “in the process of engaging him through Taiwanese authorities regarding a Rule

15 deposition”). In fact, the government’s FD-302 summary of its recent interview with Dr. Chen

suggests that the government never even asked Dr. Chen whether he would be willing to be

deposed. Id. Ex. B, at 4. And Dr. Chen stated that he was not sure that he would testify against

another professor. Id. Like with Dr. Schlogl, the Court’s adjudication of such a motion would

waste Dr. Tao’s and the Court’s resources, and its decision would be an improper advisory opinion.

The government therefore fails to satisfy its burden of demonstrating that it would suffer prejudice

if the Court strikes the motion to depose Dr. Chen.

       The government cannot show prejudice as to the DOE witnesses because it can easily

replace them with other witnesses from DOE. The government states that the witnesses are

expected to testify about “DOE’s grant award practices, expectations, and disclosure requirements,

the competitive nature of grant applications, and the agency’s reliance on principal investigators

and universities to be honest and to follow their internal policies.” Gov’t Rule 15 Motion, ECF

No. 186, at 10. The suggestion that these two DOE witnesses are the only ones who can testify

about the DOE grant process is preposterous. A simple Google or LinkedIn search shows that DOE

has numerous program managers, who can capably testify about DOE’s grant award practices,

expectations, disclosure requirements, competition, and reliance on principal investigators and

universities to be honest and to follow internal policies. If the government cannot find a single

program manager at DOE who can provide testimony similar to the two DOE witnesses who



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happened to manage Dr. Tao’s grants, one has to wonder how DOE can expect principal

investigators like Dr. Tao to be fully informed of all DOE grant requirements, even though there

are purportedly only two employees within the DOE who are sufficiently knowledgeable to testify

what these requirements are.

       The government also states that one of the DOE witnesses, Dr. Miranda, must testify to

rebut a possible defense that the Current & Pending Support disclosure requirements in the DOE

grant applications did not clearly call for disclosure of foreign research grants. Id. at 10–11. The

government asserts that an “exchange” between Dr. Tao and Dr. Miranda would rebut this defense.

The government fails to note, however, that the exchange occurred over email, which is the best

evidence of the exchange. See Email Exchange Between Dr. Tao and Dr. Miranda, Dec. 1–16,

2014, attached as Ex. A hereto. Dr. Miranda’s testimony on this point is unnecessary, and it would

violate the best evidence rule. See Fed. R. Evid. 1002. The government therefore fails to satisfy its

burden of demonstrating that it would suffer prejudice if the Court strikes the motion to depose

Dr. Schwartz or Dr. Miranda.

       The government states that Dr. Weatherley, Chair of Chemical and Petroleum Engineering

(CPE) at KU, would testify about Dr. Tao’s “employment responsibilities at KU,” his

“performance during the relevant period,” his “buyout request for the Spring 2019 semester,” his

“claims regarding [the Fritz Haber Institute],” and his “absence from KU during the Spring 2019

semester.” Gov’t Rule 15 Motion, ECF No. 186, at 13. The government claims that this testimony

is necessary to prove that Dr. Tao allegedly defrauded KU of salary. Id. But the evidence regarding

performance, the buyout request, and the Fritz Haber Institute consists of email evidence, such that

Dr. Weatherley’s testimony about the contents of the emails would not only be unnecessary, but it

would also be inadmissible under the best evidence rule. See Fed. R. Evid. 1002.



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       The government also already identified a replacement for Dr. Weatherley: Professor

Russell Dean Ostermann, Director of Petroleum Engineering at CPE. The government listed

Professor Ostermann on its witness list on October 1, 2021, at a time when it was aware of Dr.

Weatherley’s circumstances, and it presumably plans to call him to testify if Dr. Weatherley is

unavailable. See Government Witness List, ECF No. 165, at 2. Professor Ostermann can testify

about “Dr. Tao’s performance during the relevant time period,” and his alleged “absence from KU

during the Spring 2019 semester.” Gov’t Rule 15 Motion, ECF No. 186, at 13. He can also

contextualize any email evidence about Dr. Tao’s buyout request, claims regarding the Fritz-Haber

Institute, or absence from campus in the spring of 2019, to the extent appropriate. Id.6

       In addition, the government has not stated that Dr. Weatherley agrees to and is able to be

deposed. See Gov’t Rule 15 Motion, ECF No. 186, at 13–14 (stating that it is “unclear whether he

will be able to testify at a deposition” prior to trial). Thus, the Court’s adjudication of the motion

as to Dr. Weatherley would needlessly waste Dr. Tao’s and the Court’s resources, and render any

decision on the motion an improper advisory opinion. The government therefore fails to satisfy its

burden of demonstrating that it would suffer prejudice if the Court strikes the motion to depose

Dr. Weatherley.

       C.      The Court should also strike the government’s motion to avoid prejudicing the
               defense.

       When the defense filed a pre-trial motion nine weeks before the original October 25 trial

date, the government cried prejudice and argued that the motion should be stricken because it

would interfere with its trial preparations, an argument to which the Court was sympathetic. Here,

the government’s inexcusably late motion is even more prejudicial.


6
 That the government has not produced an FD-302 for Professor Ostermann suggests that it has
not even interviewed him, let alone confirmed that he is unable to testify about these topics.

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       In the weeks before trial, the defense would need to turn its attention away from trial

preparation—as it has in order to draft this motion—and toward responding to the government’s

untimely motion. If the government’s motion is granted, moreover, the defense would need to

prepare for and attend between one and five depositions in the weeks before the December 6 trial,

during a major holiday. The government does not even contend that this is plausible, much less

doable without prejudicing the defense’s trial preparations.7

                                         CONCLUSION

       Two months ago, the government argued that the Court should strike Dr. Tao’s untimely

pre-trial motion because Dr. Tao did not seek leave of Court or move for an extension of the pre-

trial motions deadline, and because it would prejudice the government’s trial preparations. See

Gov’t Motion to Strike, ECF No. 141, at 1 (arguing that “[t]he defense filed its suppression motion

… without leave from the Court”); id. at 5 (“Nor did the defense seek the Court’s leave to file its

untimely motion”); id. at 8 (“Here, the defense filed a motion to suppress … without leave from

the Court”); id. at 11 (“Despite knowing that the motion would be untimely … the defense chose

not to … seek leave from the Court to file the motion or extend the motions deadline”); id. at 10

(“[A]t this late stage of the proceedings, the timing of the defense’s motion clearly prejudices the

government.”). The Court agreed: “To the extent the defendant thought [the motion] was

important, they could have asked for an extension of the … motions deadline. They could have

asked for leave to file a motion out of time. None of which is before the Court in this case. So

defendant fails to meet the first prong to show good cause for delay.” Hear’g Tr. (10/14/2021) at

241.



7
 In this respect, the government’s motion may be part of a tactical move to convince the Court to
continue the trial date without the government moving for a continuance, in violation of Dr. Tao’s
speedy trial rights.

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       Now that the roles are reversed, the government apparently believes that seeking leave of

Court or an extension of the pre-trial motions deadline is unnecessary, and that prejudice to the

opposing party is unimportant. The government asks the Court to apply a double-standard. The

Court should reject this invitation, and it should make clear that Rule 12(c) applies equally to both

parties—not just the defense. The Court should strike the motion for lack of good cause.

Dated: November 8, 2021                               Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 8th day of November, 2021, I electronically filed the

foregoing Motion to Strike and Exhibit with the Clerk of the Court using the CM/ECF system.


                                                      /s/ Thomas H. Johnson
                                                      Thomas H. Johnson


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